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NOR U.S. DISTRICT COURT
THERN DISTRICT OF TEXAS
FILED
IN THE UNITED STATES DISTRICT COURT JAN 27 2021
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION CLERK, US. DISTRICT COURT,
UNITED STATES OF AMERICA § BY ny 9
§
v. § CASE NO. 2:21-CR-6-Z
§
STEVEN ANTHONY REINHART §
CONSENT REGARDING
ENTRY OF A PLEA OF GUILTY

in the event the Defendant decides at any time before trial to enter a plea of guilty, the United States Magistrate
Judge is authorized, in accordance with United States v. Dees, 125 F.3d 261 (Sth Cir. 1997), with the consent of the
Defendant, to conduct the proceedings required by Rule 11, FED. R. Crim. P. incident to the making of the plea. If, after
conducting such proceedings, the Magistrate Judge recommends that the plea of guilty be accepted, a presentence
investigation and report will be ordered pursuant to Rule 32, FED. R. CRIM. P, The assigned United States District Judge
will then act on the Magistrate Judge’s Report and Recommendation and if the plea of guilty is accepted, will adjudicate
guilt and schedule a sentencing hearing at which the District Judge will decide whether to accept or reject any associated
plea agreement and will determine and impose sentence. The Defendant may file written objections to the Magistrate
Judge's recommendation within fourteen (14) days from the date of the recommendation pursuant to 28 U.S.C.
§$636(b(1 XB).

CONSENT

I bereby declare my intention to enter a plea of guilty in the above case and I request and consent to the
United States Magistrate Judge conducting the proceedings required by Rule 11, FED. R. Crim. P. incident to the
making of such plea. I understand that if my plea of guilty is then accepted by the District Judge, the District Judge
will decide whether to accept or reject any plea agreement I may have with the United States and will sdjudicate

guilt and impose sentence,

I acknowledge receipt of this document, given to me on this date.

Date: | / 25/s021

SZ

Steven Anthony Reinhart

   

 

Attomey for Defendant

 

 
